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Counsel to Saadia Group LLC


                              UNITED STATES BANKRUPTCY COURT
                                   DISTRICT OF NEW JERSEY


                                                               )
In re:                                                         )         Chapter 11
                                                               )
RTW RETAILWINDS, INC., et al.,1                                )         Case No. 20-18445 (JKS)
                                                               )
                                    Debtors.                   )         (Jointly Administered)
                                                               )

             NOTICE OF WITHDRAWAL OF APPEARANCE AND REQUEST
         TO BE REMOVED FROM SERVICE LISTS AND ELECTRONIC NOTICING

          PLEASE WITHDRAW the appearance of Natalie D. Ramsey, Esquire, Jamie L.

Edmonson, Esquire and Laurie A. Krepto, Esquire, as counsel for Saadia Group LLC (“Saadia”)

in the above matter, including electronic noticing.

1
 The Debtors in these chapter 11 cases and the last four digits of each Debtor’s federal tax identification number, as
applicable, are as follows: RTW Retailwinds, Inc. (1445); Lerner New York Holding, Inc. (2460); Lernco, Inc.
(4787); Lerner New York, Inc. (2137); New York & Company, Inc. (4569); Lerner New York GC, LLC (6095);
Lerner New York Outlet, LLC (6617); New York & Company Stores, Inc. (6483); FTF GC, LLC (7341); Lerner
New York FTF, LLC (6279); Fashion to Figure, LLC (6997); FTF IP Company, Inc. (6936). The Debtors’ principal
place of business is 330 W. 34th St., 9th Floor, New York, New York 10001.
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Dated: October 20, 2020                      ROBINSON & COLE LLP



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